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USE)C FLSD 2458 (J3c
                   çyr$8/08)-JudgmentinaCriminalCase                                                                                                        Pagt1of6


                           U N IT E D ST A T E S D IST R IC T C O U R T
                                                           Southern D istrict ofFlorida
                                                                         M iam iD ivision

          UN IT ED STA TES O F AM ERIC A                                                 JU D G M EN T IN A C R IM IN A L C A SE

                                                                                         Case N um ber:16-20816-C R-H UC K
                                                                                         U SM N um ber:09602-104
           O SVALDO ORTIZ-TAM AYO
                             a/k/a                                                       CounselForDefendant:Frank A nthony Rubino
                             M eke                                                       CounselForTheUnited States:DanielCervantes
                                                                                         Coul'
                                                                                             tReporter:Gizella Baan-proulx


The defendantpleaded guilty to count2 ofthe lndictm ent.

Thedefendantisadjudicatedguiltyoftheseoffenses:
l+la,lqr x, qx rxvrya x  lx a'rwox nw nwwwwqx                                                                                                IOFFENSE       lna yw'-'','rv j
jxxAuu G K>rvzAA%#M      j
                         iMn AUnr ur ur*A>IMUD                                                                                               jYrNnp
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l21--
    U     ., -.---. -,- -j
                         l           ,- , .- ,,-   -   -   ..   - , ..- . . . . - - --.
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                                                                                                                                             /    uwunu
                                                                                                                                                    .      v xex,in x
                                                                                                                                                  ----.--- ---. ,-,,.,,(j
' S.C.j841(a)(1)and jpossession withintentto distributeblacktarheroin
      .
                                                                                                                                             j09/01/2016
                                                                                                                                             i               l
                                                                                                                                                             j2           i
t(b)(1)(B)fj)                      .
                                   '                                                                                                         :               )            j
                                                                                                                                                                          I
The defendant is sentenced as provided in the following pages ofthisjudgment.The sentence is imposed
pursuantto the Sentencing Reform A ctof 1984.
A llrem aining counts are dism issed on the m otion of the governm ent.
lt is ordered that the defendant m ust notify the U nited States attorney for this district w ithin 30 days of any
change ofname,residence,orm ailing addressuntilallfines,restitution,costs, and specialassessm ents im posed
bythisjudgmentarefullypaid.Iforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStates
attorney ofm aterialchanges in econom ic circum stances.




                                                                                     D ate ofIm position ofSentence'
                                                                                                                   .3/1/2017


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                                                                                                                                       ez'
                                                                                          tl'
                                                                                            s ''-
                                                                                     PaulC .H uck
                                                                                     U nited States Senior D istrictJudge


                                                                                    D ate: M arch 1,20l7
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US-
  IN Ekssl2458 (B,
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                         )-JudamentinaCriminalCase                                                  Page2of6

DEFEN D A N T:O SV A LD O O R TIZ-TA M A Y O a/k/a M eke
CA SE N U M BER :16-20816-C R-H U CK

                                                       IM PRISO N M EN T

The defendantishereby comm itted to the custody ofthe United StatesBureau ofPrisonsto be imprisoned fora
totalterm of20 m onths.

The court m akes the follow ing recom m endations to the Bureau ofPrisons:
The D efendantbe designated to a facility in or as near to South Florida as possible.

The defendantis rem anded to the custody ofthe U nited States M arshal.

                                                           R ETU RN
Ihaveexecutedthisjudgmentasfollows:




at                                                   ,withacertified copyofthisjudgment.




                                                              UN ITED STATES M AR SH A L



                                                              D EPU TY UN ITED STA TES M A RSHA L
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D EFEN DA N T:O SVA LD O O RT IZ-TA M A Y O a/k/a M eke
CASE NUM BER:16-20816-CR-HUCK

                                                     SU PER V ISED R ELEA SE

Upon release from im prisonm ent,the defendantshallbe on supervised releaseforaterm of4 years.
The defendantmustreportto the probation office in thedistrictto which thedefendantisreleased w ithin 72 hoursofrelease
from the custody oftheBureau ofPrisons.
Thedefendantshallnotcom m itanotherfederal,state orIocalcrime.
The defendantshallnotunlawfully possess a controlled substance.The defendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubm itto one drug testwithin 15 daysofrelease from imprisonm entand atleast
t'
 w o periodic drug teststhereafter,asdeterm ined by the court.
Thedefendantshallcooperatein the collection ofDNA asdirected by the probation oflicer.
Thedefendantshallnotpossessa firearm ,am m unition,destructivedevice,or any otherdangerousw eapon.

lfthisjudgmentimposesafineorrestitution,itisaconditionofsupervised releasethatthedefendantpay inaccordance
withtheScheduleofPaymentssheetofthisjudgment.
Thedefendantmustcomply with thestandard conditionsthathave been adopted by thiscourtasw ellasw ith any additional
conditionson the attached page.
                                      STA N D AR D C O N DITIO N S O F SU PER V ISIO N
    1.Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationoftscer;
   2.Thedefendantshallreporttotheprobation officerand shallsubm itatruthfulandcompletewritten reportw ithinthetsrstfifteen
      daysofeach m onth;
   3.Thedefendantshallanswertruthfully allinquiriesby theprobationofficerand follow the instructionsoftheprobationofficer;
   4.Thedefendantshallsupporthisorherdependentsand m eetotherfam ilyresponsibilities'   ,
   5.Thedefendantshallwork regularly atalawfuloccupation,unlessexcusedby theprobationofficerforschooling,training,or
      otheracceptablereasons;
   6.Thedefendantshallnotify theprobation officeratleasttendayspriorto any changein residenceorem ploym ent;
   7.Thedefendantshallrefrain from excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradm inisterany
      controlledsubstanceorany paraphernaliarelated toanycontrolled substances,exceptasprescribed by aphysician'
                                                                                                               ,
   8.Thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegally sold,used,distributed,oradm inistered;
   9.Thedefendantshallnotassociatewithanypersonsengaged in crim inalactivity and shallnotassociatewith any person convicted
      ofafelony,unlessgranted perm issionto do so bytheprobationofficer;
   l0.Thedefendantshallperm itaprobation officertovisithim orheratanytim eathomeorelsewhereandshallperm itconfiscation
      ofany contraband observed inplain view oftheprobation officer;
   ll.Thedefendantshallnotify theprobation oftscerwithin seventy-two hoursofbeingarrested orquestionedby alaw enforcement
      officer;
   l2.The defendantshallnotenterinto any agreementto actasan inform erora specialagentofa law enforcementagency withoutthe
      perm ission ofthe court;and
   13.Asdirectedby theprobation officer,thedefendantshallnotifythirdpartiesofrisksthatm ay beoccasioned bythedefendant's
      crim inalrecordorpersonalhistory orcharacteristicsand shallpermittheprobationofficertom akesuchnotiscationsandto
      confirm the defendant'scompliance w ith such notification requirem ent.
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D EFEN D AN T:O SV ALD O O RT IZ-TA M A Y O a/lk/a M eke
CA SE N UM BER:16-20816-CR -H U C K

                                        SPE CIA L C O ND ITIO N S O F SU PER V ISIO N

H om e Detention w ith Electronic M onitoring: For the first vear of supervised release the defendant shall
participate in the H om e D etention Electronic M onitoring Program .During this tim e,the defendantshallrem ain at
his place of residence except for em ploym ent and other activities approved in advance,and provide the U .S.
Probation Ofticer with requested docum entation. The defendant shall m aintain a telephone at his place of
residence w ithout Scallforw arding,' ûcallw aitingr'a m odem ,Scaller 1D ,'or '
                                                                               callback/callblock'servicesforthe
above period. The defendant shall w ear an electronic m onitoring device and follow the electronic m onitoring
procedures as instnlcted by the U .S.Probation O fficer. The defendant shallpay for the electronic m onitoring
equipm entatthe prevailing rate or in accordance w ith ability to pay.

Com m unity Service - The defendantshallperform 1200 hours ofcom m unity service forthe firstyearw hile he
ison H om e D etention.A fterthe firstyear,ifthe defendantis em ployed fulltim e,the defendantshallperform 300
hours of com m unity service per year of supervised release as m onitored by the U .S.Probation Officer.lf the
defendantis unem ployed,the defendant shallperform 1200 hours of com m unity service per year of supervised
release as m onitored by the U .S.Probation O fficer.If the defendant is em ployed pal4 tim e,the defendant shall
perfonn a pro-rated num berofcom m unity service hoursperyear of supervised release as m onitored by the U .S.
ProbationOfficer.Allcommunityservicehoursshallbeperformedon anannualbasis(i.e.no carryover).

Perm issible Search - The defendant shall subm it to a search of his/her person or property conducted in a
reasonable m anner and ata reasonable tim e by the U .S.Probation Officer.

Surrendering to lm m igration for R em ovalA fter Im prisonm ent - A tthe com pletion ofthe defendant's tenn
of im prisonm ent, the defendant shall be surrendered to the custody of the U .S. lm m igration and Custom s
Enforcem ent for rem oval proceedings consistent w ith the lm m igration and N ationality A ct. If rem oved, the
defendant shall not reenter the U nited States w ithout the prior written perm ission of the Undersecretary for
Border and Transportation Security.The term ofsupervised release shallbe non-reporting w hile the defendantis
residing outside the United States. lf the defendant reenters the U nited States w ithin the term of supervised
release,the defendantisto reportto the nearestU .S.Probation O ftice w ithin 72 hours ofthe defendant'sarrival.
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DEFEN D AN T:O SV ALD O O R TIZ-TA M A Y O a/k/a M eke
CA SE N U M BER :16-20816-CR -H U C K

                                           CR IM IN AL M O N ETA RY PEN A LTIES

The defendantm ustpay the totalcrim inalm onetary penaltiesunderthe schedule ofpaym entson Sheet6.
                                              A ssessm ent          Fine           Restitution
          TOTA LS                  $100.00               $0.00                 $0.00
lf the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent,unless specified otherw ise in the priority order or percentage paym ent colum n below .H ow ever,
pursuantto 18U.S.C.j366449,allnonfederalvictimsmustbepaid beforetheUnited Statesispaid.
* Findings forthe totalam ountof losses are required underChapters 109A ,110, 1IOA ,and 113A ofTitle 18 for
offensescom m itted on orafterSeptem ber 13,1994,butbefore A pril23,1996.
**Assessmentdue imm ediately unlessotherwiseordered by the Court.
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DEFENDANT:OSVALDO ORTIZ-TAM AYO a/k/a M eke
CA SE N U M BER :16-20816-CR -H U C K

                                                     SC H ED U LE O F PAY M EN T S

Having assessed the defendant's ability to pay, paym ent of the totalcrim inal monetary penalties is due as
follow s:
A.Lum p sum paym entof$100.00 dueim m ediately.
U nless the courthas expressly ordered otherw ise, ifthisjudgmentimposesimprisonment,paymentofcriminal
m onetary penalties is due during im prisonm ent.A ll crim inalm onetary penalties, except those paym ents m ade
tluough the Federal Bureau of Prisons' lnm ate Financial Responsibility Program , are m ade to the clerk of the
court.

The defendant shall receive credit for all paym ents previously m ade tow ard any crim inal m onetary penalties
im posed.
This assessm ent/fine/restitution ispayable to the CLERK ,UN ITED STA TES COU RTS and isto be addressed to:
U .S.C LER K 'S O FFICE
A TTN :FIN AN C IA L SEC TIO N
400 NO RTH M IA M IA V EN UE ,RO O M 08N 09
M IA M I,FL O R ID A 33128-7716
The assessm ent/tine/restitution is payable imm ediately.The U.S.Bureau ofPrisons, U .S.Probation Office and
the U .S.A ttorney's O ffice are responsible forthe enforcem entofthisorder.

Defendantand Co-DefendantNamesand CaseNumbers(including defendantnumber),TotalAmount,Jointand
SeveralAm ount,and corresponding payee,ifappropriate.

Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,
(4)fineprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostof
prosecution and courtcosts.
